          Case 1-17-01005-ess                       Doc 245-14              Filed 07/13/20               Entered 07/13/20 14:41:38
                                                                                                                              Page 1 of 99




 10-K 1 a06-19068_110k.htm ANNUAL REPORT PURSUANT TO SECTION 13 AND 15(D)

                                     UNITED STATES
                         SECURITIES AND EXCHANGE COMMISSION
                                                                     Washington, DC 20549


                                                                     Form 10-K
 (Mark One)
                  ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES
                   EXCHANGE ACT OF 1934
                                                            For the fiscal year ended: June 30, 2006
                                                                               OR
                  TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES
                   EXCHANGE ACT OF 1934
                                                     For the transition period from             to
                                                             Commission file number: 001-31825


                           THE FIRST MARBLEHEAD CORPORATION
                                                      (Exact name of registrant as specified in its charter)
                                             Delaware                                                     XX-XXXXXXX
                                   (State or other jurisdiction of                                     (I.R.S. Employer
                                  incorporation or organization)                                      Identification No.)
                                    The Prudential Tower
                                800 Boylston Street, 34th Floor
                                    Boston, Massachusetts                                                02199-8157
                             (Address of principal executive offices)                                    (Zip Code)
                                             Registrant’s telephone number, including area code: (617) 638-2000

                                                   Securities registered pursuant to Section 12(b) of the Act:
                              Common Stock, $.01 par value                                        New York Stock Exchange
                                  (Title of each class)                                    (Name of each exchange on which registered)
                                               Securities registered pursuant to Section 12(g) of the Act: None

       Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act Yes  No 
       Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or 15(d) of the Act. Yes  No 
        Indicate by check mark whether the registrant: (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act
 of 1934 during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such
 filing requirements for the past 90 days. Yes  No 
        Indicate by check mark if disclosure of delinquent filers pursuant to Item 405 of Regulation S-K is not contained herein, and will not be contained,
 to the best of registrant’s knowledge, in definitive proxy or information statements incorporated by reference in Part III of this Form 10-K or any
 amendment to this Form 10-K. 
       Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, or a non-accelerated filer. See definition of
 “accelerated filer and large accelerated filer” in Rule 12b-2 of the Exchange Act (Check one):
                                Large accelerated filer              Accelerated filer                Non-accelerated filer 
       Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act). Yes  No 
       The aggregate market value of the voting and non-voting common equity held by non-affiliates of the registrant (without admitting that any person
 whose shares are not included in the calculation is an affiliate) was approximately $1,106,000,000 based on the last reported sale price of the common
 stock on the New York Stock Exchange on December 30, 2005.
       Number of shares of the registrant’s class of common stock outstanding as of July 31, 2006: 62,805,814

                                                   DOCUMENTS INCORPORATED BY REFERENCE
       The registrant intends to file a proxy statement pursuant to Regulation 14A within 120 days of the end of the fiscal year ended June 30, 2006.
 Pursuant to Paragraph G(3) of the General Instructions to Form 10-K, information required by items 10, 11, 12, 13 and 14 of Part III have been omitted
 from this report (except for information required with respect to our executive officers and code of ethics, which is set forth under “Executive Officers”




https://sec.report/Document/0001104659-06-060653/a06-19068_110k.htm                                                                                  7/1/2020
        Case 1-17-01005-ess              Doc 245-14          Filed 07/13/20         Entered 07/13/20 14:41:38
                                                                                                       Page 14 of 99



      In connection with the transaction, we also entered into a series of agreements with respect to loan processing
 services, database updates and the securitization of TERI-guaranteed loans. These include a master servicing agreement
 and a database purchase and supplementation agreement with TERI. Pursuant to the master servicing agreement, TERI
 engages us to provide loan origination, pre-claims, claims and default management services. Under TERI’s agreements
 with lenders, lenders delegate their loan origination functions to TERI, and TERI has the right to subcontract these
 functions. Pursuant to the database purchase and supplementation agreement, TERI provides updated information to us
 about the performance of the student loans it has guaranteed, so that we can continue to supplement and enhance our
 database.
      Under the master loan guaranty agreement, we agreed to create a market for our private label clients to sell TERI-
 guaranteed loans through securitizations that we facilitate. Under our agreement, we must use our best efforts to cause a
 securitization of a limited category of TERI-guaranteed loans at least twice per year, subject to the lender having a
 specified minimum loan volume at the semi-annual purchase date. In October 2004, we renewed our master servicing
 agreement, master loan guaranty agreement and certain additional agreements with TERI, in each case for an additional
 term through June 2011.
       The master loan guaranty agreement generally provides that the guarantee fees earned by TERI upon the
 disbursement of student loans are placed in a segregated reserve account which is held as collateral to secure TERI’s
 obligation to purchase defaulted student loans. This account is held by a third-party financial institution for the benefit of
 the program lender until the student loans are securitized, at which point the account is pledged to the securitization trust
 that purchases the loans. The master loan guarantee agreement, as implemented through guaranty agreements with
 individual lenders, entitiles TERI to retain a portion of its guaranty fees as an administrative fee rather than place them in
 the pledged account.
      In October 2005, we entered into a supplement to the master loan guaranty agreement. Under the terms of the 2005
 supplement, for securitizations of TERI-guaranteed loans during fiscal 2006, TERI’s administrative fee of 150 basis points
 increased, and the amount deposited by TERI into the pledged account decreased, by 90 basis points. In addition, TERI’s
 residual interest in the trusts created at the time of the securitizations was correspondingly reduced to account for the 90
 basis point reduction in the pledged account. As a result, the administrative fee for securitizations of TERI-guaranteed
 loans in fiscal 2006 was 240 basis points multiplied by the principal balance of the loans originated and securitized. For
 securitizations completed during fiscal 2006, TERI’s ownership of the residual value of the TERI-guaranteed loans
 securitized ranged from 12 to 15 percent.
      In August 2006, we entered into a supplement to the master loan guaranty agreement that provides as follows:
       For each securitization closing between August 1, 2006 and June 30, 2007, TERI will be entitled to elect to adjust
        the amount of its administrative fee, and adjust the amount deposited into the pledged account, within specified
        parameters. As a result, the amount of the administrative fee applicable to securitizations closing between
        August 1, 2006 and June 30, 2007 may range from


                                                               13




        150 basis points to 240 basis points, at TERI’s election. We have agreed to attempt in good faith to structure our
        securitization transactions to accommodate TERI’s election.
       For each securitization for which TERI elects to adjust the administrative fee, we will make a corresponding
        adjustment to our relative ownership percentages of the residual interests in the applicable securitization trust. To
        the extent TERI elects to increase the amount of its administrative fee above 150 basis points, such an adjustment
        would result in an increase in our ownership percentage and a decrease in the ownership interest of TERI, by a
        percentage that will result in an equivalent dollar reduction in the fair value of TERI’s residual ownership interest
        at the time of the securitization, using a 12 percent discount factor.
     TERI has elected to receive an administrative fee of 175 basis points for the securitization transaction we plan to
 complete in the first quarter of fiscal 2007.
      Through June 2006, we paid TERI a monthly fee of approximately $62,000 pursuant to the database purchase and
 supplementation agreement. Beginning in July 2006, monthly payments pursuant to the database sale and supplementation
 agreement were reduced to approximately $21,000. TERI also maintains a perpetual right to access the data we own solely
 for use in its guarantee business.




https://sec.report/Document/0001104659-06-060653/a06-19068_110k.htm                                                    7/1/2020
        Case 1-17-01005-ess               Doc 245-14          Filed 07/13/20         Entered 07/13/20 14:41:38
                                                                                                        Page 25 of 99



 and deceptive practices acts could impose liability on a securitization trust holding the loan or create defenses to the
 enforceability of the loan.


                                                                25




 In structuring and facilitating securitizations of our clients’ loans and as holders of rights to receive residual cash
 flows in those trusts, we may incur liabilities to investors in the asset-backed securities those trusts issue.
       We have facilitated and structured a number of different special purpose trusts that have been used in securitizations
 to finance student loans that our clients originate. Under applicable state and federal securities laws, if investors incur
 losses as a result of purchasing asset-backed securities that those trusts issue, we could be deemed responsible and could
 be liable to those investors for damages. If we failed to cause the trusts to disclose adequately all material information
 regarding an investment in the asset-backed securities or if the trust made statements that were misleading in any material
 respect in information delivered to investors, it is possible that we could be held responsible for that information or
 omission. In addition, under various agreements entered into with underwriters or financial guarantee insurers of those
 asset-backed securities, we are contractually bound to indemnify those persons if investors are successful in seeking to
 recover losses from those parties and the trusts are found to have made materially misleading statements or to have
 omitted material information.
      If we are liable for losses investors incur in any of the securitizations that we facilitate or structure and any insurance
 that we may have does not cover this liability or proves to be insufficient, our profitability or financial position could be
 materially adversely affected.

 If our relationship with TERI terminates, our business could be adversely affected.
      In June 2001, we purchased the loan processing operations of TERI and entered into a series of agreements to govern
 future securitizations of TERI-guaranteed loans. TERI continues to provide private student loan guarantee, education
 information and counseling services for students, and is the exclusive third-party provider of borrower default guarantees
 for our clients’ private label loans. We have entered into an agreement to provide various services for TERI and received
 fees from TERI for services performed of $106.1 million, or 19% of total service revenue, for fiscal 2006, and $78.2
 million or 19% of total service revenue, for fiscal 2005. In addition, we have agreed to undertake on a best-efforts basis to
 arrange or facilitate securitizations for a limited category of TERI-guaranteed loans and have the right to receive structural
 advisory and other fees in connection with these securitizations. We also have entered into an agreement to receive from
 TERI updated information about the performance of the student loans it has guaranteed, to allow us to supplement our
 database. Each of these agreements with TERI had an initial term through June 2006. In October 2004, we exercised our
 option to renew each agreement for an additional five-year term, through June 2011. If our agreements with TERI
 terminate for any reason, or if TERI fails to comply with its obligations, our business would be adversely affected and the
 value of our intangible assets could be impaired for the following reasons:
       we may not be able to offer our clients guarantee services from another guarantor and, accordingly, our access to
        loans and our opportunities to structure securitization transactions may diminish significantly;
       we may not be successful in establishing an arrangement with a third-party to provide the warranties that TERI
        currently provides to lenders related to origination services. In such case, we may be required to provide such
        warranties; and
       if TERI is unable to provide guarantee services, any financial guarantee insurance coverage we obtain in
        securitization transactions could be more costly, if it is available at all.
      In such events, demand for our services, including opportunities to structure and facilitate securitization transactions,
 could decline, which would adversely affect our business. In addition, the value of the loans in the securitization
 transactions we facilitate could decline and the value of our residuals could be reduced.


                                                                26




https://sec.report/Document/0001104659-06-060653/a06-19068_110k.htm                                                     7/1/2020
